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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
              v.                                 )
                                                 )   Nos.
GRAYDON YOUNG,                                   )          1:21-cr-28-6 (APM)
JASON DOLAN,                                     )          1:21-cr-28-15 (APM)
MARK GRODS,                                      )          1:21-cr-437 (APM)
CALEB BERRY,                                     )          1:21-cr-460 (APM)
JOSHUA JAMES,                                    )          1:22-cr-15-5 (APM)
BRIAN ULRICH, and                                )          1:22-cr-15-9 (APM)
WILLIAM TODD WILSON,                             )          1:22-cr-152 (APM)
                                                 )
                        Defendants.              )

                                   JOINT STATUS REPORT

       The government reports that Defendants Graydon Young, Jason Dolan, Mark Grods, Caleb

Berry, Joshua James, Brian Ulrich, and William Todd Wilson continue to cooperate with the

government. We request the opportunity to file a further status report by June 9, 2023 (following

the sentencing hearings for the nine defendants convicted at trial in United States v. Rhodes,

22-cr-15). We have consulted with counsel for the defendants, who concur in this request.

                                      Respectfully submitted,

                                      MATTHEW M. GRAVES
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                                      D.C. Bar No. 481052


                             By:
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                     /s/ Alexandra Hughes
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